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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

LEONOR GONZALEZ,
Plaintiff,
Vv. Case No: 6:20-cv-2405-GKS-PDB

ACTING COMMISSIONER OF
SOCIAL SECURITY,

Defendant.

 

ORDER
THIS CAUSE comes before the Court upon Defendant’s, the Acting

Commissioner of Social Security’s, Unopposed Motion for Remand Pursuant to
Sentence Four of 42 U.S.C. § 405(g). (Doc. 25) (Motion). Defendant explains that

[r]lemand is requested because the agency anticipates
revising its internal procedures for conducting
redetermination hearings under sections 205(u) of the
[Social Security] Act so as to provide beneficiaries with
the opportunity to object to the exclusion of evidence that
[Office of Inspector General] ... has identified as suspect
and to allow an ALJ to determine if the evidence should
be disregarded under the “reason to believe” standard
described in 42 U.S.C. § 405(u)(1)(B). Once those
procedures have been finalized, Plaintiff will have the
opportunity to submit additional evidence in support of
her claim and the agency will provide the opportunity for
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a hearing before an Administrative Law Judge (ALJ) in

accordance with the agency’s updated administrative

procedures.
(Doc. 25:1). Defendant has also proposed inter alia reinstatement of Plaintiff’s
benefits subject to repayment (Doc. 25:2-3). Plaintiff Gonzalez has no objection.
(Doc. 25:2). The Court referred the Motion to the United States Magistrate Judge
for a report and recommendation (Report and Recommendation).

On November 4, 2021, the United States Magistrate Judge issued a Report
and Recommendation, (Doc. 26), recommending that Defendant’s Motion be
granted.

After review and consideration of the Report and Recommendation, it is
hereby ORDERED and ADJUDGED as follows:

1. United States Magistrate Judge Patricia D. Barksdale’s

Report and Recommendation, (Doc. 26), is APPROVED and

ADOPTED and is made part of this Order for all purposes,

including appellate review.

2. The Acting Commissioner’s Unopposed Motion for
Entry of Judgment with Remand Pursuant to Sentence Four of
42 U.S.C. § 405(g), (Doc. 25), is GRANTED.

3. The agency decision is REVERSED under sentence

four of 42 U.S.C. § 405(g).
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4. The case is REMANDED for the Acting
Commissioner to provide Plaintiff Gonzalez “the opportunity to
submit additional evidence in support of her claim ... [and] for
a hearing before an [ALJ] in accordance with the agency’s
updated administrative procedures.”

Additionally, the Acting Commissioner is ORDERED to
(1) reinstate Plaintiffs benefits, subject to the agency’s rules on
eligibility for payment, from the date the agency previously
terminated such benefits, (2) continue to pay benefits until the
ALJ issues a new decision in Plaintiff's case, subject to the
agency’s rules on eligibility for payment, and (3) suspend the
overpayment collection process for any overpayment that may
have accrued as a result of the redetermination of Plaintiff's
entitlement to benefits under section 205(u) of the Act until the
AL] issues a new decision after a hearing. If the ALJ’s new
decision finds Plaintiff not entitled to benefits during the
relevant period, the Commissioner may terminate such
entitlement and may treat the benefits previously received,

including those ordered by this Court, as overpayments.
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5. The Clerk of Court is DIRECTED to enter Judgment
in favor of Plaintiff, Leonor Gonzalez, and against Defendant,

Acting Commissioner of Social Security and CLOSE this case.

DONE AND ORDERED at Orlando, Florida, this _/@ day of

November, 2021.

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G. KENDALL SHARP
SENIOR UNITED STATES DISTRICT JUDGE

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Copies to:

Counsel of Record
Unrepresented Parties
